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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF IOWA
                                       CENTRAL DIVISION

Talmadge Keown,                                  NO. 4:14 – cv – 00024-RP-RAW

                Plaintiff,

vs.

The CBE Group, Inc.                                   REVISED VOLUNTARY DISMISSAL
                                                            WITH PREJUDICE
                Defendant.




Pursuant to Rule 41.1(a)(2) of the Local Federal Rules of Civil Procedure, plaintiff, Talmadge Keown,
requests all claims raised or that could have been raised in this action against Defendant, NCC The CBE
Group, Inc., are hereby dismissed with prejudice as the parties have reached a settlement agreement.
Each party will bear its own costs and attorney fees.



   /s/ L. Ashley Zubal _____
L. Ashley Zubal AT0009559                               Justin A. Comer
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CERTIFICATE OF SERVICE: By signing above, the attorney, L. Ashley Zubal certifies that on the 17th
day of March, 2014, this document was filed electronically in the United States District Court for the
Southern District of Iowa Court. The parties listed will receive notice via US Mail.
